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15                                UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17                                    SAN FRANCISO DIVISION

18
     CHRISTINE RIGANIAN and DONNA                    Case No. 4:25-cv-824-JST
19   SPURGEON, on behalf of themselves and all
     others similarly situated,                      [PROPOSED] ORDER GRANTING
20                                                   DEFENDANT’S MOTION TO DISMISS
                   Plaintiffs,                       CLASS ACTION COMPLAINT
21
            v.                                       Date: June 5, 2025
22                                                   Time: 2:00 pm
     LIVERAMP HOLDINGS, INC., a                      Courtroom 6
23   corporation organized under the laws of the
     State of Delaware,                              Hon. Jon S. Tigar
24
                   Defendant.
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     [PROPOSED] ORDER GRANTING MOTION TO DISMISS                            CASE NO. 4:25-CV-824-JST
     Case 4:25-cv-00824-JST          Document 17-6          Filed 03/28/25     Page 2 of 2



 1                                         [PROPOSED] ORDER

 2          Having read and considered Defendant LiveRamp Holdings, Inc.’s Motion to Dismiss
     Class Action Complaint, the briefs filed in support and opposition, and the entire record herein,
 3
     Defendant’s Motion to Dismiss is hereby GRANTED in its entirety and the Complaint is
 4
     DISMISSED WITH PREJUDICE.
 5 IT IS SO ORDERED.
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 7 Dated:
 8
                                                            The Honorable Jon S. Tigar
 9                                                          United States District Court Judge

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     [PROPOSED] ORDER GRANTING MOTION TO DISMISS      -1-                         CASE NO. 4:25-CV-824-JST
